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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
ALEXANDRIA DIVISION

SOUKSAKHONE PHAKNIKONE, CIVIL DOCKET NO. 1:20-CV-366-P
Petitioner

VERSUS JUDGE DRELL
WARDEN, MAGISTRATE JUDGE PEREZ-MONTES
Respondent

JUDGMENT

For the reasons stated in the Report and Recommendation of the Magistrate
Judge previously filed herein (ECF No. 9), and after an independent review of the
record, including the Objection filed by Petitioner (ECF No. 10), having determined
that the findings and recommendation are correct under the applicable law;

IT IS ORDERED that the Petition (ECF No. 1) is hereby DISMISSED for lack
of jurisdiction, with prejudice as to the jurisdictional issue, and without prejudice to
the merits of Petitioner’s claims.

THUS DONE AND SIGNED, at Alexandria, Louisiana, on this Sp tay of

June 2020.

 

 

DEE D. DRELL
UNITED STATES DISTRICT JUDGE

 
